Case 3:06-cv-05107-JAP-TJB Document 60 Filed 11/19/07 Page 1 of 1 PageID: 1795




NOT FOR PUBLICATION                                                        CASE CLOSED

                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
____________________________________
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                                     :
                                     :
                                     :
IN RE BED BATH & BEYOND INC.         : CIVIL ACTION NO. 06-5107 (JAP)
DERIVATIVE LITIGATION               :
                                     :
                                     :
                                     : ORDER
                                     :
____________________________________:

      For the reasons set forth in the accompanying opinion dated November 19, 2007, IT IS

      ON THIS 19th day of November, 2007,

      ORDERED that Plaintiff’s complaint is DISMISSED with prejudice; and

      FURTHER ORDERED that this matter is hereby closed.



SO ORDERED.

                                                        /s/ JOEL A. PISANO
                                                        United States District Judge
